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                           IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW HAMPSHIRE

DAVIES INNOVATIONS INC.                            §
                                                   §
          Plaintiff,                               §            Case No. 1:16-cv-00352-LM
                                                   §
v.                                                 §
                                                   §
SIG SAUER INC. and STURM, RUGER                    §
& COMPANY, INC.                                    §
                                                   §
          Defendants.


              JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT

          Pursuant to Rule 6.1(c) of the Supplemental Rules for Patent Cases (“SPR”) and the

Discovery Order (Doc. 54) issued on October 7, 2016, Plaintiff Davies Innovations Inc.

(“Plaintiff”), and Defendants SIG Sauer, Inc., and Sturm, Ruger & Company, Inc. (collectively,

“Defendants”), jointly submit their Joint Claim Construction and Prehearing Statement.

     I.       CONSTRUCTION OF TERMS ON WHICH THE PARTIES AGREE
          In this action, Plaintiff has asserted that Defendants are infringing Claims 1, 5, 8, and 9

of U.S. Patent No. 7,827,722. Through the course of complying with SPR 6.1, the parties

were able to come to an agreement that certain terms did not need construction and therefore

would not be presented to the Court. To that end, Plaintiff originally proposed that three terms

should be construed; it now proposes that only one needs construction. Similarly, Defendants

collectively originally proposed that 15 terms should be construed; they now propose that a

total of six terms should be construed, as provided in Section II below.

          Pursuant to SPR 6.1(c)(1), the parties state that there are presently no terms for which

the parties have agreed to any given construction. Subject to the Court’s forthcoming

constructions of the six terms which the parties dispute and subject to further development of


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the parties’ infringement, validity, and enforceability positions, at this time the parties believe

that the balance of the language of the asserted claims does not require construction.

    II.      PROPOSED CONSTRUCTION OF EACH DISPUTED TERM

          Pursuant to SPR 6.1(a) and (b), and in accordance with the approved schedule in this

case, the parties exchanged lists of proposed terms for construction and proposed claim

constructions, and conferred in good faith in an effort to limit the terms in dispute and narrow or

resolve the parties’ differences. As a result of those efforts, the parties have determined that

there are six (6) claim terms in dispute, which require construction by the Court, as follows:

               •   “a piston moveable between a retracted position and an extended position within
                   the cylinder”

               •   “an end plug removably closing the open forward end of the cylinder”

               •   “tubular handguard encircling the barrel”

               •   “channel providing clearance for the operating system”

               •   “barrel coupling”

               •   “passage of the piston/push rod assembly”

          Attached as Exhibit A is a chart containing Plaintiff’s and Defendants’ proposed

constructions of each of these disputed terms, together with identification of intrinsic evidence

(i.e., from the specification and/or prosecution file history) and extrinsic evidence known to the

parties concerning their proposed constructions, as required by SPR 6.1(c)(2).1


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    On December 8, 2016, Defendants served Plaintiff with interrogatories and requests for
    production directed to claim construction matters. Plaintiff served written responses on
    January 6, 2017, and rolling production of materials on January 10, 2017 and February 17,
    2017. Claim construction discovery will close on March 7, 2017, by which time Plaintiff
    should have provided all responsive, non-privileged information, along with a privilege log.
    As the close of claim construction discovery has not occurred, Defendants respectfully
    reserve their right to supplement their supporting extrinsic evidence with any information yet
    to be provided.

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   III.      ANTICIPATED LENGTH OF TIME NECESSARY FOR
             CLAIM CONSTRUCTION HEARING

          In accordance with SPR 6.1(c)(3), the parties state that they anticipate that three (3) hours

will be necessary for the Claim Construction Hearing.

   IV.       PROPOSED WITNESSES

          In accordance with SPR 6.1(c)(4), the parties state that there are no proposed witnesses for

the Claim Construction Hearing.

Dated: February 28, 2017                             Respectfully submitted,

DAVIES INNOVATIONS INC.,                             SIG SAUER, INC.,
By its attorneys,                                    By its attorneys,

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                                              /s/ Scott D. Stimpson
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                              CERTIFICATE OF SERVICE

       I hereby certify that on this date, I electronically served the JOINT MOTION AND
CLAIM CONSTRUCTION STATEMENT on all counsel of record via the Court’s CM/ECF
system, pursuant to Fed. R. Civ. P. 5(b)(2)(E).

Dated: February 28, 2017                   /s/ Laura L. Carroll
                                           Laura L. Carroll




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